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           EXHIBIT 36
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1                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                ATLANTA DIVISION

3

4      DONNA CURLING, ET AL.,                 :
                                              :
5                  PLAINTIFFS,                :
       vs.                                    :   DOCKET NUMBER
6                                             :   1:17-CV-2989-AT
       BRAD RAFFENSPERGER, ET AL.,            :
7                                             :
                   DEFENDANTS.                :
8

9

10        TRANSCRIPT OF HEARING ON PRELIMINARY INJUNCTION VIA ZOOM

11                                    PROCEEDINGS

12                      BEFORE THE HONORABLE AMY TOTENBERG

13                         UNITED STATES DISTRICT JUDGE

14                               SEPTEMBER 11, 2020

15                                     8:16 A.M.

16                                     VOLUME 2

17                                     REDACTED

18

19

20

21        MECHANICAL STENOGRAPHY OF PROCEEDINGS AND COMPUTER-AIDED

22                            TRANSCRIPT PRODUCED BY:

23
       OFFICIAL COURT REPORTER:            SHANNON R. WELCH, RMR, CRR
24                                         2394 UNITED STATES COURTHOUSE
                                           75 TED TURNER DRIVE, SOUTHWEST
25                                         ATLANTA, GEORGIA 30303
                                           (404) 215-1383
                           UNITED STATES DISTRICT COURT
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1      cybersecurity.     And as I understand, Mr. Tyson doesn't have an

2      objection.

3                   MR. TYSON:    That is correct, Your Honor.      We don't

4      have an objection to having Mr. Liu testify as a computer

5      science expert with a focus on cybersecurity.

6                   THE COURT:    All right.   I'll accept it.

7                   MS. BROGAN:   Thank you.

8      Q.    (BY MS. BROGAN)      Mr. Liu, have you had an opportunity to

9      review the two declarations submitted by State defendants for

10     Mr. Cobb in this matter?

11     A.    Yes, I have.

12     Q.    Mr. Cobb addresses this issue of whether the QR codes

13     produced by the BMDs are encrypted.

14           Have you done your own analysis to determine whether the

15     QR codes are encrypted?

16     A.    Yes.   Yes, I have.

17     Q.    And what did you find?

18     A.    In examination of the QR codes, we identified that the QR

19     codes were not encrypted, certainly not with any known

20     industry-accepted standard algorithm.

21           And the process that we undertook to perform the

22     verification was to develop code that read the QR code.

23     Wherein, we were able to extract the raw data and determine

24     that it was -- whether or not it was encrypted.           And our

25     conclusion was that it was not.

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1      Q.     And what did you understand Mr. Cobb to say with respect

2      to encryption of these QR codes?

3      A.     In his -- I believe it is in his declaration he states

4      that these QR codes are signed and encrypted.          And that is not

5      a correct statement.

6      Q.     In his second declaration, does he continue to suggest

7      that the QR codes are encrypted?

8      A.     I would need to -- I would, yeah, probably want to take a

9      look at that second declaration to understand exactly which

10     section you are referring to.

11     Q.     Sure.   Okay.

12     A.     But certainly in the first one, he does make that

13     statement.     And it is not correct.

14     Q.     Okay.   Actually, we could pull up -- let me ask it this

15     way:   Do you understand a distinction between QR codes that are

16     encrypted and QR codes that are encoded?

17     A.     Yes.    There is a big distinction.     It is a fundamental

18     distinction.     Coding and encryption are two very different

19     things.

20     Q.     So if Mr. Cobb had walked back his analysis that the QR

21     codes were encrypted and now suggests that they are encoded,

22     would that make a difference?

23     A.     Yes.    And I think if that is what you are referring to,

24     Mr. Cobb does state in his second declaration that they are

25     encoded and not encrypted.

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1      Q.    Dr. Coomer, hi.     My name is Robert McGuire.       I'm counsel

2      for the Coalition plaintiffs in this case.

3            First question, can you hear me clearly?

4      A.    Yes, I can.

5      Q.    Okay.   Thank you.    You are the director of products

6      strategy and security for Dominion Voting Systems?

7      A.    That is correct.

8      Q.    I want to begin by asking you about the plaintiffs'

9      concerns in this case that the Dominion scanners are not

10     counting all the votes.

11           Are you and Dominion aware that voter markings that are

12     obvious votes to human eyes are being disregarded on central

13     count scanners due to settings that degrade the image quality?

14     A.    I do not agree with that statement, no.

15     Q.    Okay.   You disagree that votes are being discarded by the

16     scanner that humans would interpret as votes?

17     A.    Nothing is being discarded from the system.          We are

18     capturing the percentage fill of the targets for every mark

19     that is made on the ballot.       That has absolutely nothing to do

20     with the scanner resolution, the DPI setting.

21           Whether a mark is characterized as a ballot vote, an

22     ambiguous mark, or not a vote is wholly dependent on the

23     threshold settings of the lower and upper threshold limits as

24     well as the percentage fill of the target detected by the

25     system.

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1      Q.    So does that mean you would not count something as a vote

2      if to a human eye it looks like a vote?

3      A.    No, that is not what it means at all.         What it means is

4      the system is simply scanning the image and detecting the

5      percentage fill of the target area.        Based on the settings, it

6      will automatically say whether it is a valid counted vote,

7      whether it is an ambiguous mark, or whether we don't

8      characterize it as any.

9            There are further processes in the system, mainly

10     adjudication, which allows secondary review -- voter review for

11     voter intent issues, which is integral to the system, which is

12     where you can apply voter intent guidelines and processes to

13     essentially characterize a vote that the system is not

14     automatically specifying as a vote.

15                 MR. McGUIRE:    Okay.   Can I ask Clinton to put up

16     Exhibit PX 7, which was introduced yesterday into evidence?

17                 Let's see.    Clint, could you scroll to the -- scroll

18     down just a bit.

19     Q.    (BY MR. McGUIRE)     So, Mr. Coomer, do you see that where it

20     says the race for sheriff?       It says Theodore "Ted" Jackson.       Do

21     you see that?

22     A.    Yes, I do.

23     Q.    And you see that mark there?

24     A.    Correct.

25     Q.    Now, to your eyes as human, does that look like a vote?

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1      can't make any statements on that.

2      Q.    But if it had been adjudicated in the course of a normal

3      election process, you would have seen that on the AuditMark in

4      front of us; right?

5      A.    Yes.    Yes.

6      Q.    Okay.   So I would like to turn to precinct scanners, and

7      we can take that exhibit down.

8            Dr. Coomer, Dominion's precinct scanners are generally

9      used to scan BMD ballots; right?

10     A.    Can you be more specific?

11     Q.    Well, the precinct -- in the precincts most of the ballots

12     that are scanned on the precinct scanners are ballots printed

13     from BMDs?

14     A.    In Georgia, that is a correct statement.

15     Q.    But the scanners -- the precinct scanners are capable of

16     scanning and tabulating in the precincts hand-marked paper

17     ballots, are they not?

18     A.    Correct.

19     Q.    Now, you recently submitted a declaration at Document

20     834-1.   I'm going to read to you -- I can show it to you.         I

21     don't actually have it as an exhibit.         But I can share my

22     screen and show it to you so you can follow along with what I'm

23     reading, assuming that I can do this.

24           If you can tell me when that comes up for you.

25     A.    I can see it now.

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1      A.    I am aware that representatives for the plaintiffs have

2      access to the precinct equipment.        I can't characterize what a

3      test is.

4      Q.    Okay.   Would you -- would it surprise you to learn that

5      the plaintiffs --

6                  MR. TYSON:    Your Honor, I'll object right here.      I

7      think we're getting into the scope of the testing again.           And

8      we went over this yesterday.       I don't think this is the proper

9      place to bring this in.

10                 THE COURT:    I don't know that he is getting into

11     testing.

12                 MR. McGUIRE:    Correct, Your Honor.      If I may just ask

13     one or two questions, it will be clear.         I'm getting to

14     feasibility.

15     Q.    (BY MR. McGUIRE)     Are you aware that the Dominion precinct

16     scanner will accept and scan ordinary photocopies of ballots?

17     A.    I'm aware that the precinct scanner will accept a valid

18     ballot.

19     Q.    Okay.   Are you aware that it will accept a photocopy of a

20     valid ballot?

21     A.    Potentially, yes.

22     Q.    Okay.   So even if there weren't capacity among your

23     qualified printers, wouldn't it be possible for any commercial

24     printer to provide acceptable ballots for Georgia to use?

25     A.    No, I can't agree with that statement at all.          No.

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1                   THE COURT:   All right.    Very good.    Thank you.

2            Whereupon,

3                                  RICHARD BARRON,

4            after having been first duly sworn, testified as follows:

5                                 CROSS-EXAMINATION

6      BY MR. BROWN:

7      Q.    Mr. Barron, I am Bruce Brown.       We have met.

8            What is your position?

9      A.    The Director of Registration and Elections for Fulton

10     County.

11     Q.    And is Fulton County the biggest jurisdiction in the State

12     of Georgia?

13     A.    Yes.

14     Q.    How many registered voters do you have approximately?

15     A.    If you include inactive, it is about 845,000.

16     Q.    And, Mr. Barron, the September special election is

17     currently underway now; is that right?

18     A.    Yes.

19     Q.    And has Fulton County experienced problems with the

20     electronic Poll Pads in the September election?

21     A.    Yes.   On Tuesday.

22     Q.    And what problems did it have?

23     A.    There were some precincts that if the voter -- once a

24     voter checked in and went to get a card activated off the Poll

25     Pad, if more than one voter from that -- after the first voter

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1      checked in on that precinct, the Poll Pad would indicate that

2      the voter had already voted and that another card couldn't be

3      created.

4      Q.    So you only got one checked in per Poll Pad; is that

5      correct?

6      A.    Yeah.    In certain precincts.

7            We had -- we notified the vendor, KNOWiNK, on August 29

8      that we were encountering an issue.         It was the same issue we

9      encountered in August.       And they told us to do a hard reset,

10     which we did.

11           The Poll Pads seemed to operate normally until about

12     10:30 in those seven early voting sites.          And then that issue

13     reared its head again.       And we confirmed that Clayton County

14     and Dekalb County, the only other two counties in this

15     election, had the same -- same issue.

16                  MR. BROWN:   Ms. Cole, if you could pull up for us

17     Plaintiffs' Exhibit 53.

18     Q.    (BY MR. BROWN)      Mr. Barron, on the screen you should be

19     able to see what has been marked as Plaintiffs' Exhibit 53.

20           Are you familiar with the guidance from the Secretary of

21     State relating to using emergency paper ballots?

22     A.    Yes.

23     Q.    And pursuant to this guidance and regulations, Fulton

24     County needs to be ready to use hand-marked paper ballots

25     instead of BMDs under certain situations; correct?

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1      A.    Yes.

2      Q.    And the guidance actually gives some detail on what you

3      are supposed to do?      For example, you need to have Sharpie,

4      fine point black pens; correct?

5      A.    Yes.

6      Q.    And has other voting procedures that you need to follow

7      for using hand-marked paper ballots instead of BMDs; correct?

8      A.    Yes.

9      Q.    And you and -- you have to stock hand-marked paper ballots

10     to be used by hand in each of your voting locations already;

11     correct?

12     A.    Yes.   That's correct.     We have to have ten percent of the

13     number of registered voters assigned to that precinct worth of

14     paper ballots.

15     Q.    And your poll workers know how to use hand-marked paper

16     ballots so that they can comply with these emergency

17     procedures; correct?

18     A.    Yes.

19     Q.    Mr. Barron, prior to -- I didn't go into your work

20     background.

21           Prior to working for Fulton County, did you have

22     experience in election administration in jurisdictions in which

23     hand-marked paper ballots were the primary vote of elections?

24     A.    Yes.   In early -- I think in 2000 to 2002 in Travis

25     County, Texas, that was the case.         And then when I was in

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1      Williamson County, Texas, we did a hybrid system where at times

2      we would do early voting via DRE and election day with paper.

3      Q.    Mr. Barron, if the Court ordered Fulton County to use

4      hand-marked paper ballots for election day, would you be able

5      to comply?     Would Fulton County be able to comply with the

6      Court's order?

7      A.    Yes.    I mean, it is always -- I mean, the time -- the time

8      frame now is a little tricky just because we have already

9      prepared all of our training manuals for -- to go forward with

10     BMDs.

11     Q.    If you switched -- if you switched out the BMDs, however,

12     it would save a lot of time, on the other hand, for a lot of

13     activities that you have to do to set up the BMDs; correct?

14     A.    Yeah.    Well, you wouldn't have the same -- the same sort

15     of time demands with regard to logic and accuracy.            You

16     still -- I mean, I think there would be tradeoffs.            There

17     probably would be overall less time spent preparing an election

18     day with paper than currently just because of the logic and

19     accuracy time.

20                  MR. BROWN:    Thank you.   That is all I have, Your

21     Honor.

22                  THE COURT:    Anything further from any other counsel?

23                  MS. RINGER:   I didn't know if the other plaintiffs'

24     counsel wanted to question Mr. Barron.

25                  MR. CROSS:    Nothing from me, Your Honor.

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8      Q.

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12     A.

13     Q.

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15     A.

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24     Q.

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1      A.

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9                  LAW CLERK COLE:

10                 THE COURT:

11     A.

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7      Q.    (BY MS. ASCARRUNZ)

8                  THE COURT:

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11                 THE WITNESS:

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13                 THE COURT:

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15                 THE WITNESS:

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17                 THE COURT:

18                 LAW CLERK COLE:

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22                 THE COURT:

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24     Q.    (BY MS. ASCARRUNZ)

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1                               C E R T I F I C A T E

2

3      UNITED STATES OF AMERICA

4      NORTHERN DISTRICT OF GEORGIA

5

6            I, SHANNON R. WELCH, RMR, CRR, Official Court Reporter of

7      the United States District Court, for the Northern District of

8      Georgia, Atlanta Division, do hereby certify that the foregoing

9      357 pages constitute a true transcript of proceedings had

10     before the said Court, held in the City of Atlanta, Georgia, in

11     the matter therein stated.

12           In testimony whereof, I hereunto set my hand on this, the

13     13th day of September, 2020.

14

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17                             ________________________________
                               SHANNON R. WELCH, RMR, CRR
18                             OFFICIAL COURT REPORTER
                               UNITED STATES DISTRICT COURT
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